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 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 03/12/14
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                                                            3 of 73
                                                                 75 PageID #:995
                                                                           #:6308




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 03/12/14
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                                                            4 of 73
                                                                 75 PageID #:996
                                                                           #:6309




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 03/12/14
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                                                            5 of 73
                                                                 75 PageID #:997
                                                                           #:6310




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 03/12/14
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                                                            6 of 73
                                                                 75 PageID #:998
                                                                           #:6311




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 03/12/14
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                                                            7 of 73
                                                                 75 PageID #:999
                                                                           #:6312




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page68of
                                                         of73
                                                            75PageID
                                                              PageID#:1000
                                                                     #:6313




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page79of
                                                         of73
                                                            75PageID
                                                              PageID#:1001
                                                                     #:6314




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 12/10/13
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                                                            8 ofof73
                                                                   75PageID
                                                                      PageID#:1002
                                                                             #:6315




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Case:
 Case:1:10-cv-01168
       1:12-cv-04428Document
                     Document#:#:450-2
                                  77-7 Filed: 12/10/13
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                                                            9 ofof73
                                                                   75PageID
                                                                      PageID#:1003
                                                                             #:6316




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page10
                                                        12of
                                                          of73
                                                             75PageID
                                                               PageID#:1004
                                                                      #:6317




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page11
                                                        13of
                                                          of73
                                                             75PageID
                                                               PageID#:1005
                                                                      #:6318




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page12
                                                        14of
                                                          of73
                                                             75PageID
                                                               PageID#:1006
                                                                      #:6319




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page13
                                                        15of
                                                          of73
                                                             75PageID
                                                               PageID#:1007
                                                                      #:6320




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page14
                                                        16of
                                                          of73
                                                             75PageID
                                                               PageID#:1008
                                                                      #:6321




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page15
                                                        17of
                                                          of73
                                                             75PageID
                                                               PageID#:1009
                                                                      #:6322




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page16
                                                        18of
                                                          of73
                                                             75PageID
                                                               PageID#:1010
                                                                      #:6323




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page17
                                                        19of
                                                          of73
                                                             75PageID
                                                               PageID#:1011
                                                                      #:6324




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page18
                                                        20of
                                                          of73
                                                             75PageID
                                                               PageID#:1012
                                                                      #:6325




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                   Page19
                                                        21of
                                                          of73
                                                             75PageID
                                                               PageID#:1013
                                                                      #:6326




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page20
                                                        22of
                                                          of73
                                                             75PageID
                                                               PageID#:1014
                                                                      #:6327




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page21
                                                        23of
                                                          of73
                                                             75PageID
                                                               PageID#:1015
                                                                      #:6328




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page22
                                                        24of
                                                          of73
                                                             75PageID
                                                               PageID#:1016
                                                                      #:6329




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page23
                                                        25of
                                                          of73
                                                             75PageID
                                                               PageID#:1017
                                                                      #:6330




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page24
                                                        26of
                                                          of73
                                                             75PageID
                                                               PageID#:1018
                                                                      #:6331




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page25
                                                        27of
                                                          of73
                                                             75PageID
                                                               PageID#:1019
                                                                      #:6332




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page26
                                                        28of
                                                          of73
                                                             75PageID
                                                               PageID#:1020
                                                                      #:6333




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page27
                                                        29of
                                                          of73
                                                             75PageID
                                                               PageID#:1021
                                                                      #:6334




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page28
                                                        30of
                                                          of73
                                                             75PageID
                                                               PageID#:1022
                                                                      #:6335




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page29
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                                                          of73
                                                             75PageID
                                                               PageID#:1023
                                                                      #:6336




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page30
                                                        32of
                                                          of73
                                                             75PageID
                                                               PageID#:1024
                                                                      #:6337




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page31
                                                        33of
                                                          of73
                                                             75PageID
                                                               PageID#:1025
                                                                      #:6338




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page32
                                                        34of
                                                          of73
                                                             75PageID
                                                               PageID#:1026
                                                                      #:6339




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page33
                                                        35of
                                                          of73
                                                             75PageID
                                                               PageID#:1027
                                                                      #:6340




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page34
                                                        36of
                                                          of73
                                                             75PageID
                                                               PageID#:1028
                                                                      #:6341




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page35
                                                        37of
                                                          of73
                                                             75PageID
                                                               PageID#:1029
                                                                      #:6342




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page36
                                                        38of
                                                          of73
                                                             75PageID
                                                               PageID#:1030
                                                                      #:6343




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page37
                                                        39of
                                                          of73
                                                             75PageID
                                                               PageID#:1031
                                                                      #:6344




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page38
                                                        40of
                                                          of73
                                                             75PageID
                                                               PageID#:1032
                                                                      #:6345




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page39
                                                        41of
                                                          of73
                                                             75PageID
                                                               PageID#:1033
                                                                      #:6346




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page40
                                                        42of
                                                          of73
                                                             75PageID
                                                               PageID#:1034
                                                                      #:6347




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page41
                                                        43of
                                                          of73
                                                             75PageID
                                                               PageID#:1035
                                                                      #:6348




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page42
                                                        44of
                                                          of73
                                                             75PageID
                                                               PageID#:1036
                                                                      #:6349




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page43
                                                        45of
                                                          of73
                                                             75PageID
                                                               PageID#:1037
                                                                      #:6350




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page44
                                                        46of
                                                          of73
                                                             75PageID
                                                               PageID#:1038
                                                                      #:6351




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page45
                                                        47of
                                                          of73
                                                             75PageID
                                                               PageID#:1039
                                                                      #:6352




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page46
                                                        48of
                                                          of73
                                                             75PageID
                                                               PageID#:1040
                                                                      #:6353




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page47
                                                        49of
                                                          of73
                                                             75PageID
                                                               PageID#:1041
                                                                      #:6354




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page48
                                                        50of
                                                          of73
                                                             75PageID
                                                               PageID#:1042
                                                                      #:6355




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page49
                                                        51of
                                                          of73
                                                             75PageID
                                                               PageID#:1043
                                                                      #:6356




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                   Page50
                                                        52of
                                                          of73
                                                             75PageID
                                                               PageID#:1044
                                                                      #:6357




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page51
                                                        53of
                                                          of73
                                                             75PageID
                                                               PageID#:1045
                                                                      #:6358




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
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                                                        54of
                                                          of73
                                                             75PageID
                                                               PageID#:1046
                                                                      #:6359




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                          of73
                                                             75PageID
                                                               PageID#:1047
                                                                      #:6360




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                        56of
                                                          of73
                                                             75PageID
                                                               PageID#:1048
                                                                      #:6361




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1049
                                                                      #:6362




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1050
                                                                      #:6363




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1051
                                                                      #:6364




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1052
                                                                      #:6365




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
                                                   Page59
                                                        61of
                                                          of73
                                                             75PageID
                                                               PageID#:1053
                                                                      #:6366




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1054
                                                                      #:6367




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
                                           12/10/13Page
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                                                        63of
                                                          of73
                                                             75PageID
                                                               PageID#:1055
                                                                      #:6368




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                          of73
                                                             75PageID
                                                               PageID#:1056
                                                                      #:6369




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Case:
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      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1057
                                                                      #:6370




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Case:
Case:1:10-cv-01168
      1:12-cv-04428Document
                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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                                                             75PageID
                                                               PageID#:1058
                                                                      #:6371




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Case:
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                   Document#:
                            #:450-2
                               77-7 Filed:
                                    Filed:03/12/14
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Case:
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                   Document#:
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Case:
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                   Document#:
                            #:450-2
                               77-7 Filed:
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Case:
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                   Document#:
                            #:450-2
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Case:
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                   Document#:
                            #:450-2
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Case:
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Case:
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Case:
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                   Document#:
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                                                                      #:6379




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Case:
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                   Document#:
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